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                         Case 1:24-cv-03267-JKB
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                VIA ECF                                                               February 13, 2025


                                                 Re:     United States of America, et al. v. United Health Group
                                                         Incorporated, et al., Case No. 1:24-cv-03267-JKB –
                                                         Scheduling Conference


                The Honorable James K. Bredar
                United States District Court for the District of Maryland
                101 West Lombard Street
                Chambers 5A
                Baltimore, MD 21201

                Dear Judge Bredar:

                We write on behalf of Defendant Amedisys, Inc. (“Amedisys”) to inform the Court of
                Amedisys’ intent to move for a stay with respect to Count II (the “Section 7A Claim”) in the
                above-referenced action. In the event the Court wishes to consider this issue at the upcoming
                case management conference on February 20, 2025, we provide the following background.

                As you know, the United States of America and the states of Maryland, Illinois, New Jersey,
                and New York (together, “Plaintiffs”), brought suit against UnitedHealth Group Incorporated
                (“United”) and Amedisys (together with United, “Defendants”) on two Counts. All Plaintiffs
                join Count I of the complaint, which seeks to enjoin the proposed merger between Defendants
                on the basis that the merger would, allegedly, substantially lessen competition for home health
                services and hospice services across the United States, and in labor markets for those services.
                See generally Compl., ECF No. 1 ¶¶ 94-97. Given Count I’s paramount importance in this
                litigation (and to United’s and Amedisys’ corporate futures), Defendants proposed an
                expedited litigation schedule in an effort to ensure that Count I be resolved prior to the end
                date in Defendants’ merger agreement. This approach is consistent with most merger
                challenges litigated by government plaintiffs because merging parties seek the certainty of
                prompt and efficient resolution.1


                1
                           See, e.g., United States v. AT&T, 310 F. Supp. 161 (D.D.C. 2018) (discussing expedited proceedings in
                           merger litigation); United States v. Booz Allen Hamilton Inc., 2022 U.S. Dist. LEXIS 190006 (D. Md.
                           Oct. 11, 2022) (same); United States v. US Airways Grp., Inc., 979 F. Supp. 2d 33, 35 (D.D.C. 2013)
                           (same); United States v. Anthem, 236 F. Supp. 3d 171 (D.D.C. 2017) (same); FTC v. IQVIA Holdings
                           Inc., 710 F. Supp. 329, 341 (S.D.N.Y. 2023) (same); see also, e.g., United States v. UnitedHealth Grp.
                           Inc., 630 F. Supp. 3d 118, 128-29 (D.D.C. 2022) (outlining truncated six-month litigation timeline);
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Separately, only the United States (the “DOJ”) brings Count II—the Section 7A Claim—
where it alleges that Amedisys is liable for monetary penalties for violations of Section 7A of
the Clayton Act (the “HSR Act”), 15 U.S.C. § 18(a). See generally Compl., ECF No. 1 ¶¶ 98-
101.

Amedisys intends to vigorously defend the Section 7A Claim. Nonetheless, as the parties
begin discovery in this matter, it has become clear that the Section 7A Claim risks distracting
the Court and parties from Count I. Accordingly, Amedisys believes that the present action
would be greatly simplified if the Court were to bifurcate the proceedings such that the
Plaintiffs’ Count I claim progressed independently (and substantially ahead) of the DOJ’s
Section 7A Claim against Amedisys. This would allow the parties and Court to focus their
resources on the more important and time-sensitive Count I. Amedisys expects to file its
motion by February 18.2 Because this motion has the potential to impact the Court’s
consideration of the proposed case schedule with respect to deadlines relevant to Count II, we
wanted to provide the Court with our position now so that the parties can address it at the case
management conference if the Court wishes to do so. DOJ has informed Amedisys that it
intends to oppose the forthcoming motion.

We thank the Court for its attention to this matter.

                                                         Respectfully submitted,


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       FTC v. RAG-Stiftung; 436 F. Supp. 3d 278 (D.C. Cir. 2020) (same); FTC v. Sysco Corp., 113 F. Supp.
       3d 1 (D.D.C. 2015) (same, four months).
2
       Although there are other mechanisms to address Amedisys’ concerns, Amedisys respectfully submits
       that the one proposed here is the most efficient for case-management purposes. Other mechanisms
       include a motion for judgment on the pleadings pursuant to Federal Rule of Civil Procedure (“FRCP”)
       12(c); a motion to formally sever the two claims pursuant to FRCP 21; and/or a future summary
       judgment motion consistent with the deadlines laid out in the parties’ Proposed Case Management
       Order, ECF No. 72-1, and applicable federal and local rules. See, e.g., United States v. Baker Hughes,
       Inc., 731 F. Supp. 3 (D.D.C. 1990) (reflecting bifurcation of merger claim and Section 7A claim).
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CC:
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